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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

UNITED STATES OF AMERICA §
§ 4:20-CR-412-01
versus §
§ JUDGE KEITH ELLISON
IBRAHEEM AL BAYATI §
WAIVER OF APPEARANCE

Ibraheem Al Bayati waives his appearance for arraignment on the indictment, docket entry 1. He
has received a copy of the indictment in this case, discussed the matter with his attorney, and
understands the minimum and maximum possible punishment. He pleads not guilty to the

indictment. Al Bayati does not waive his rights under the Speedy Trial Act at this time.

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Ibraheem Al Bayati

 

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